                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Patricia Lowry
                                        Plaintiff,
v.                                                     Case No.: 1:20−cv−01939
                                                       Honorable Matthew F. Kennelly
RTI Surgical Holdings, Inc., et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Saturday, October 10, 2020:


         MINUTE entry before the Honorable Matthew F. Kennelly: Motion by defendants
Farhat, RTI, and Singer for leave to file excess pages [55] is denied, without prejudice to
the filing of a motion by all defendants stating the number of pages that each requests as
well as the aggregate total and the extent to which defendants propose to adopt arguments.
(mk)




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